Case 1:17-cv-00181-MPT Document 60 Filed 05/23/18 Page 1 of 12 PageID #: 510



                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF DELAWARE


JAMES R. ADAMS,                               :
                                              :
                       Plaintiff,             :
                                              :
       v.                                     :       C. A. No. 17-181-MPT
                                              :
HONORABLE JOHN CARNEY,                        :
Governor of the State of Delaware             :
                                              :
                       Defendant.             :

                                    MEMORANDUM ORDER

I.     INTRODUCTION

       On February 21, 2017, Plaintiff, James R. Adams (Aplaintiff@), filed this action,

pursuant to 42 U.S.C. § 1983, seeking Declaratory Judgment and Injunctive Relief

against the Governor of the State of Delaware, John Carney (Adefendant@). 1 Plaintiff0F




seeks review of the constitutionality of provisions found in Article IV, § 3 of the

Constitution of the State of Delaware known as the “Political Balance Requirement.” 2     1F




The Political Balance Requirement subjects all appointments to the office of the State

Judiciary to a series of limitations relating to the political affiliation of judicial

appointees. 3 These limitations consist broadly of requirements that: (1) not more than
             2F




a “bare majority” 4 of the offices in the Supreme Court or Superior Court “shall be of the
                  3F




same political party;” (2) collectively, not more than a “bare majority” of “the Justices of


       1  D.I. 1; see also D.I. 10.
       2  D.I. 10; see also D.I. 29 at 4; Del. Const. art. IV, § 3.
        3 Del. Const. art. IV, § 3; see also D.I. 40 at 2-4.
        4 Section 3 distinguishes between courts with an even number of seats, in which

“not more than one-half of the members of all such offices shall be of the same political
party[,]” and courts with an odd number of seats, in which “not more than a bare
majority of the members of all such offices shall be of the same major political party[.]”
Del. Const. Art. IV, § 3. Defendant refers to these two requirements collectively as the
“Bare Majority Component.” D.I. 29 at 4-5 & n.1.
Case 1:17-cv-00181-MPT Document 60 Filed 05/23/18 Page 2 of 12 PageID #: 511




the Supreme Court, the Judges of the Superior Court, the Chancellor and all the Vice-

Chancellors shall be . . . of the same major political party[;]” 5 and (3) “the remaining
                                                               4F




members of such [judicial] offices shall be of the other major political party.@ 6 Similarly,
                                                                                5F




the Family Court and the Court of Common Pleas are subject to limitations in which, in

the case of an even number of judges on the court, “not more than one-half of the

Judges shall be of the same political party[,]” and in the case of an odd number of

judges, “not more than a majority of one Judge shall be of the same political party.” 7   6F




       Plaintiff filed an amended complaint on April 10, 2017. 8 In the amended
                                                                    7F




complaint, Plaintiff asked the court to:

              [E]nter an Order (i) holding that the provision of Article IV,
              Section 3 of the Constitution of the State of Delaware
              mandating political balance on the courts is unconstitutional
              as it violates the freedom of association guaranteed by the
              First Amendment to the Constitution of the United States, (ii)
              permanently enjoining the use of political affiliation as a
              criterion for the appointment of judges to the Courts of
              Delaware, and (iii) awarding Mr. Adams his costs and
              reasonable attorneys' fees pursuant to 42 U.S.C. §1988. 9   8F




On September 29, 2017, the parties filed cross-motions for summary judgment. 10 In his
                                                                                     9F




motion, Plaintiff argued that Article IV, § 3 restricts Delaware state government

employment based on political affiliation in violation of the First Amendment of the

Constitution of the United States. 11 Meanwhile, in defendant’s motion for summary
                                   10F




judgment, defendant contended that plaintiff had failed to establish standing under


       5 Major political party is defined as “any political party which, as of December
31,of the year immediately preceding any general election year, has registered in the
name of that party voters equal to at least five percent of the total number of voters
registered in the State.” 15 Del. C. § 101(15).
       6 Del. Const. art. IV, § 3.
       7 Id.
       8 D.I. 10.
       9 Id. at 11.
       10 D.I. 17; D.I. 31.
       11 D.I. 32 at 2.



                                              2
Case 1:17-cv-00181-MPT Document 60 Filed 05/23/18 Page 3 of 12 PageID #: 512




Article III, § 2 of the Constitution of the United States. 12 Defendant argued in the
                                                          11F




alternative that that the position of judge is a Apolicymaking position,@ which defendant

contends falls under the well-established exception to the restriction of governmental

employment based on political affiliation. 13 On December 6, 2017, the court issued a
                                                12F




memorandum opinion and order (“Memorandum Opinion” and “Order”) granting

plaintiff=s motion for summary judgment and denying defendant=s motion for summary

judgment. 1413F




       On December 19, 2018, plaintiff moved for an award of attorney’s fees and costs

under 42 U.S.C. § 1988. 15 The following day, defendant moved for the court to
                           14F




reconsider or clarify its Memorandum Opinion and Order pursuant to Federal Rule of

Civil Procedure 60 and D. Del. LR 7.1.5. 16 On January 5, 2018, defendant appealed to
                                          15F




the United States Court of Appeals for the Third Circuit. 17 Defendant then moved for
                                                                16F




the court to defer ruling on the award of attorney’s fees and costs pending the appeal. 18
                                                                                         17F




Thereafter, on February 21, 2018, plaintiff moved for issuance of an order for defendant

to show cause as to why defendant should not be held in contempt for violating the

court’s December 6, 2017 Order. 19 These motions are presently before the court.
                                   18F




II.    STANDARD OF REVIEW

       A.         Motion for Reconsideration

       Motions for reconsideration are the Afunctional equivalent@ of a motion to alter or

amend judgment under Federal Rule of Civil Procedure 59(e). 20 Meeting the standard
                                                                      19F




       12
        U.S. Const. art. III, § 2.
       13
        D.I. 29 at 3.
     14 D.I. 40; D.I. 39.
     15 D.I. 41.
     16 D.I. 42.
     17 D.I. 50.
     18 D.I. 51.
     19 D.I. 57.
     20 Jones v. Pittsburgh Nat=l Corp., 899 F.2d 1350, 1352 (3d Cir. 1990) (citing Fed.

Kemper Ins. Co. v. Rauscher, 807 F.2d 345, 348 (3d Cir. 1986)).


                                                      3
Case 1:17-cv-00181-MPT Document 60 Filed 05/23/18 Page 4 of 12 PageID #: 513




for relief under Rule 59(e) is difficult. The purpose of a motion for reconsideration is to

Acorrect manifest errors of law or fact or to present newly discovered evidence.@ 21 A 20F




court should exercise its discretion to alter or amend its judgment only if the movant

demonstrate one of the following: (1) a change in the controlling law; (2) a need to

correct a clear error of law or fact or to prevent manifest injustice; or (3) availability of

new evidence not available when the judgment was granted. 22      21F




       A motion for reconsideration is not properly grounded on a request that a court

rethink a decision already made. 23 Nor may motions for reargument or reconsideration
                                   22F




be used Aas a means to argue new facts or issues that inexcusably were not presented

to the court in the matter previously decided.@ 24 Reargument, however, may be
                                                           23F




appropriate where a court Ahas patently misunderstood a party, or has made a decision

outside the adversarial issues presented to the [c]ourt by the parties, or has made an

error not of reasoning but of apprehension.@ 25      24F




       The ACourt should not hesitate to grant the motion when compelled to prevent

manifest injustice or correct clear error.@ 26 This court has granted motions to clarify
                                               25F




ambiguities in its opinions and orders. 27
                                         26F




       21 Max’s Seafood Café ex rel. Lou-Ann, Inc. v. Quinteros, 176 F.3d 699, 677 (3d
Cir. 1999).
       22 Id.
       23 Glendon Energy Co v. Borough of Glendon, 836 F. Supp. 1109, 1122 (E.D.

Pa. 1993).
       24 Brambles USA, Inc. v. Blocker, 735 F. Supp. 1239, 1240 (D. Del. 1990).
       25 Id. at 1241 (citations omitted); see also D. Del. LR 7.1.5.
       26 Brambles USA, 735 F.Supp. at 1241 (citations omitted).
       27 Helios Software, LLC v. SpectorSoft Corp., No. CV 12-81-LPS, 2015 WL

3622399, at *1 (D. Del. June 5, 2015); Organizational Strategies, Inc. v. Feldman Law
Firm LLP, No. CV 13-764-RGA, 2014 WL 2446441, at *1-2 (D. Del. May 29, 2014);
Neomagic Corp. v. Trident Microsystems, No. 1:98CV-00699-KAJ, 2003 WL 25258274,
at *3 (D. Del. July 30, 2003)


                                                     4
Case 1:17-cv-00181-MPT Document 60 Filed 05/23/18 Page 5 of 12 PageID #: 514



                 B.     Motion for Fees and Costs

                 The right to reasonable attorney’s fees is provided under 42 U.S.C. § 1988: “[i]n

any action or proceeding to enforce a provision of [42 U.S.C.] section[] . . . 1983, . . . .

the court, in its discretion, may allow the prevailing party . . . a reasonable attorney’s fee

as part of the costs[.]” 28 In order to qualify, a plaintiff must be designated as “prevailing
                                27F




party,” 29 a term which has been defined as any party who “succeed[s] on any significant
           28F




issue in litigation which achieves some of the benefit the parties sought in bringing

suit.” 30 A key factor is that the plaintiff “must be able to point to a resolution of the
     29F




dispute which changes the legal relationship between itself and the defendant.” 31 This  30F




is usually accomplished through a judgment on the merits. 32 Under Rule 54(d)(2), “if an
                                                                         31F




appeal on the merits of a case is pending, a court ‘may rule on the claim for fees, may

defer its ruling on the motion, or may deny the motion without prejudice, directing . . . a

new period for filing after the appeal has been resolved.’” 33     32F




                 C.     Motion for an Order to Show Cause

                 “The Court has wide discretion in determining sanctions in a civil contempt

matter.” 34 “Sanctions for civil contempt serve two purposes: to coerce the defendant
                  33F




                 28
           42 U.S.C. § 1988.
                 29
           Farrar v. Hobby, 506 U.S. 103, 109 (1992).
        30 Hensley v. Eckerhart, 461 U.S. 424, 433 (1983) (internal quotation marks

omitted) (citing Nadeau v. Helgemoe, 581 F.2d 275, 278-79 (1st Cir.1978) (overruled on
other grounds).
        31 Texas State Teachers Ass’n v. Garland Indep. Sch. Dist., 489 U.S. 782, 792

(1989) (citing Hewitt v. Helms, 482 U.S. 755, 760-61 (1987)).
        32 Farrar, 506 U.S. at 111 (citations omitted) (“The plaintiff must obtain an

enforceable judgment against the defendant from whom fees are sought, or comparable
relief through a consent decree or settlement.”).
        33 Walker Digital, LLC v. Expedia, Inc., No. CV 11-313-SLR, 2013 WL 5662145,

at *2 (D. Del. Oct. 16, 2013) (quoting Fed. R. Civ. P. 54, Advisory Committee Note,
1993 Amendment, Subdivision (d), Paragraph (2), Subparagraph (B)).
        34 Virium BV v. Lithium Tech. Corp., No. CV 13-500-LPS, 2016 WL 4182742, at

*2 (D. Del. Aug. 5, 2016) (citing Elkin v. Fauver, 969 F.2d 48, 52 (3d Cir. 1992)).


                                                      5
Case 1:17-cv-00181-MPT Document 60 Filed 05/23/18 Page 6 of 12 PageID #: 515




into compliance with the court’s order and to compensate for losses sustained by the

disobedience.” 35    34F




III.   DISCUSSION

       A.           Motion for Reconsideration or Clarification

       Defendant argues that there are three reasons why the court’s Memorandum

Opinion and Order requires either reconsideration or clarification. 36 First, defendant
                                                                                   35F




questions whether the court’s Order “reaches the provisions of Article IV, Section 3

concerning the Family Court and the Court of Common Pleas.” 37 Second, defendant
                                                                             36F




asks whether the court’s Order “invalidates only the provisions of Article IV, Section 3

that arguably require that judicial nominees be members of one political party or also

invalidates the provisions that limit any political party to a ‘bare majority’ of the members

of the Court.” 38 Third, defendant seeks clarification as to whether the court’s
              37F




determination, that plaintiff lacked Article III standing to challenge the “bare majority”

provision as it applies to the Court of Common Pleas and Family Court, 39 “also applies  38F




to ‘bare majority’ provisions that pertain to all of the courts.” 40
                                                                 39F




       In response, plaintiff disputes the court’s finding as to Article III standing with

respect to the Court of Common Pleas and the Family Court. 41 And plaintiff contends
                                                                       40F




that, regardless of whether he “had standing to challenge the political restrictions as to .

. . [the Family Court and Court of Common Pleas], the reasoning of this [c]ourt is



       35 Robin Woods Inc. v. Woods, 28 F.3d 396, 400 (3d Cir. 1994) (internal
quotation marks omitted) (citing McDonald’s Corp. v. Victory Investments, 727 F.2d 82,
87 (3d Cir.1984)); see also McComb v. Jacksonville Paper Co., 336 U.S. 187, 191
(1949); In re Linerboard Antitrust Litig., 361 F. App’x 392, 398-99 (3d Cir.2010).
       36 D.I. 42 at 2-4.
       37 Id. at 2.
       38 Id. at 3.
       39 D.I. 40 at 7.
       40 D.I. 42 at 4.
       41 D.I. 43 at 1 n.1.



                                                6
Case 1:17-cv-00181-MPT Document 60 Filed 05/23/18 Page 7 of 12 PageID #: 516




applicable to all Delaware State courts.” 4241F




       During the briefing on defendant’s motion for summary judgment for lack of

standing, defendant characterized the Political Balance Requirement as consisting of

two types of provisions limiting appointments to judicial office: (1) “Bare Majority”

provisions and (2) Major Party provisions. 43 In moving for reconsideration or
                                                  42F




clarification, defendant points to the court’s discussion of plaintiff’s lack of Article III

standing with respect to the Court of Common Pleas and the Family Court, which are

judicial offices limited exclusively by Bare Majority provisions. 44 Defendant essentially
                                                                    43F




argues that the court’s ruling cannot extend beyond the Major Party provisions of Article

IV, § 3, because these are the only provisions that give rise to plaintiff’s Article III

standing. 45 Therefore, defendant avers, in reconsidering or clarifying the court’s
            44F




December 6, 2017 Memorandum Opinion and Order, the court should revise its

Memorandum Opinion and Order to effectively “redline” Article IV, § 3 to eliminate the

Major Party provisions as to the Supreme Court, the Superior Court, and the Court of

Chancery, while preserving the Bare Majority provisions as to all judicial offices. 46  45F




       Defendant’s position on reconsideration or clarification is that the court can (and

must have intended to) only issue judgment on the constitutionality of the specific, Major

Party, provisions of Article IV, § 3 of the Constitution of the State of Delaware that give

rise to plaintiff’s Article III standing. 47 This is an argument about prudential standing.
                                      46F




Without using the term “prudential standing” anywhere in its briefs on reconsideration or


       42  Id. at 2.
       43  D.I. 29 at 5 nn.1-2. In note 2, defendant actually uses the term “Majority
Political Party Component”—the court finds the use of the term “majority” in both
nomenclatures to be confusing and, therefore, refers to this aspect of Article IV, § 3 as
the “Major Party provisions.”
        44 D.I. 42 at 2.
        45 Id. at 2-4.
        46 D.I. 49 at 3.
        47 D.I. 42 at 4 (“In reading pages 7-8 of the Memorandum Opinion, it appears that

this Court intended to invalidate only the ‘major party’ feature of Article IV.”).


                                                        7
Case 1:17-cv-00181-MPT Document 60 Filed 05/23/18 Page 8 of 12 PageID #: 517




clarification, defendant contends that plaintiff does not have prudential standing to

challenge the Bare Majority provisions, because the court only found that plaintiff has

Article III standing to challenge the Major Party provisions. 48
                                                              47F




              1.           Reconsideration
       Defendant directs the court’s attention to pages 7-8 of D.I. 40, the court’s

December 6, 2017 Memorandum Opinion 49 as the basis for defendant’s motion for
                                              48F




reconsideration or clarification. 50 In this portion of the its Memorandum Opinion, the
                                   49F




court addressed the question of plaintiff’s Article III standing. 51 With respect to the
                                                                    50F




Family Courts and the Courts of Common Pleas, which are limited by Bare Majority

provisions, the court stated:

              Plaintiff does not have standing under provisions four and
              five [of Article IV, § 3 of the Constitution of the State of
              Delaware]. He has not applied for a judicial position in any
              of Family Courts or the Courts of Common Pleas. In
              addition, plaintiff’s applications for these positions would not
              have been futile, because there is no party requirement
              constitutionally attached to either court. The only
              constitutional restriction on these courts is that “not more
              than a majority of one Judge shall be of the same political
              party.” 52
                     51F




However, this determination was not fatal to plaintiff’s standing, as the court found that

plaintiff had established Article III standing with respect to provisions one through three

of Article IV, § 3 of the Constitution of the State of Delaware. 53 52F




       Prudential standing was a minor factor in defendant’s summary judgment

briefing, with defendant spending a little more than one page of its opening brief on the



       48 Id.
       49 D.I. 40 at 7-8.
       50 D.I. 42 at 4.
       51 D.I. 40 at 7-8.
       52 D.I. 40 at 7 (footnotes omitted).
       53 Id. at 7-8.



                                                    8
Case 1:17-cv-00181-MPT Document 60 Filed 05/23/18 Page 9 of 12 PageID #: 518




subject. 54 In moving for reconsideration, defendant does not argue that: (1) the court
        53F




misunderstood defendant’s prudential standing arguments; (2) the court made a

decision about prudential standing outside the adversarial issues presented to the court

by the parties; or (3) the court has made an error not of reasoning but of

apprehension. 55    54F




       From the record, it is apparent that defendant is presently making an argument

that it did not make in its briefing on summary judgment. 56 At that time, defendant
                                                                  55F




argued that plaintiff had failed to satisfy the limitations on prudential standing, because

plaintiff was asking the court to adjudicate an abstract question of wide public

significance which amounts to a generalized grievance. 57 Defendant, however, did not
                                                            56F




argue, for example, that—were the court to find that plaintiff has Article III standing as to

some provisions of Article IV, § 3—plaintiff’s prudential standing would be explicitly

limited to only those specific provisions for which he has Article III standing. 58
                                                                                 57F




       Moreover, in his briefing, defendant failed to rebut plaintiff’s argument to the

contrary. 59 Plaintiff opposed defendant’s motion for summary judgment and averred
              58F




that plaintiff has prudential standing to challenge the entirety of Article IV, § 3,




       54 D.I. 29 at 16-18.
       55 D.I. 42 at 2-4; see also Tinney v. Geneseo Commc’ns, Inc., 502 F. Supp. 2d
409, 415 (D. Del. 2007).
       56 D.I. 29 at 16-18; D.I. 37 at 3-4.
       57 See D.I. 29 at 17 (“Here, Plaintiff is asking this Court to decide abstract

questions of wide public significance.”); D.I. 37 at 3 (“Plaintiff is asking this Court to
decide abstract questions of wide public significance that establish the bedrock of
Delaware’s judicial branch.”).
       58 Id. at 16-18.
       59 Compare D.I. 35 at 9-11 (plaintiff’s prudential standing argument in plaintiff’s

brief opposing defendant’s motion for summary judgment), with D.I. 37 at 3-4
(defendant’s prudential standing argument in defendant’s reply brief in support of
defendant’s motion for summary judgment).


                                               9
Case 1:17-cv-00181-MPT Document 60 Filed 05/23/18 Page 10 of 12 PageID #: 519




regardless of the scope of his Article III standing. 60 For example, plaintiff cited Virginia
                                                    59F




v. Am. Booksellers Ass’n, 484 U.S. 383, 392-93 (1988), 61 which states:
                                                                60F




              Even if an injury in fact is demonstrated, the usual rule is that
              a party may assert only a violation of its own rights.
              However, in the First Amendment context, “[l]itigants . . . are
              permitted to challenge a statute not because their own rights
              of free expression are violated, but because of a judicial
              prediction or assumption that the statute’s very existence
              may cause others not before the court to refrain from
              constitutionally protected speech or expression.” 62    61F




Plaintiff contended that this case stands for the proposition that “[w]here a party raises a
facial challenge to a law pursuant to the First Amendment, general prudential standing

requirements are relaxed.” 63 Yet defendant did not acknowledge this argument,
                            62F




discuss it, or address any of the prudential standing case law cited by plaintiff. 64
                                                                                   63F




Moreover, aside from the briefing discussed herein, 65 defendant did not make any other
                                                          64F




prudential standing arguments elsewhere in the briefing on the cross motions for

summary judgment. 66 65F




       In the briefing on summary judgment, defendant failed to rebut plaintiff’s

arguments on prudential standing. Defendant presently seeks reconsideration and an

opportunity to make arguments that he did not make in the briefing. This is beyond the

scope of the remedy requested or allowed. 67 Therefore, defendant’s motion for
                                             66F




reconsideration (D.I. 42) is DENIED.


       60  D.I. 35 at 9-10.
       61  Id. at 10.
        62 Virginia v. Am. Booksellers Ass’n, Inc., 484 U.S. 383, 392–93 (1988) (alteration

in original) (quoting Sec’y of State of Md. v. Joseph H. Munson Co., 467 U.S. 947, 956-
57 (1984).
        63 D.I. 35 at 10.
        64 D.I. 37 at 3-4.
        65 D.I. 29 at 16-18; D.I. 37 at 3-4.
        66 See D.I. 34 (defendant’s brief opposing plaintiff’s motion for summary

judgment).
        67 Max’s Seafood Café, 176 F.3d at 677.



                                             10
Case 1:17-cv-00181-MPT Document 60 Filed 05/23/18 Page 11 of 12 PageID #: 520



                 2.     Clarification
       Upon review of the briefs and the record, it is apparent that the court did not fully

explain the question of prudential standing in its December 6, 2017 Memorandum

Opinion. 68 The court agrees that clarification will simplify the record for appeal and
           67F




GRANTS defendant’s motion for clarification (D.I. 42). Therefore, the court will issue a

separate, clarified version of its December 6, 2017 Memorandum Opinion.

       B.        Fees

       Plaintiff’s motion for fees and costs lacks the statement, required by Local Rule

7.1.1, that plaintiff had made a reasonable effort to reach agreement with defendant on

fees and costs. 69 Moreover, an appeal on the merits is pending. Therefore, the court
                  68F




DENIES plaintiff’s motion for fees and costs (D.I. 41) without prejudice to renew. 70 As a
                                                                                         69F




result, defendant’s motion to defer ruling on fees and costs pending appeal (D.I. 51) is

granted.

       C.        Show Cause

       Plaintiff’s motion to show cause also lacks the Local Rule 7.1.1 statement. 71          70F




Defendant contends that it has sought to work, in good faith, within the bounds of what it

contends is the court’s holding. 72 Given the court’s grant of defendant’s motion to
                                  71F




clarify, a hearing on contempt is inappropriate at this time. Thus, the court DENIES

plaintiff’s motion for an order to show cause (D.I. 57) without prejudice to renew.

IV.    CONCLUSION

       For the reasons discussed herein, plaintiff’s motion for reconsideration (D.I. 42) is

denied; plaintiff’s motion for clarification (D.I. 42) is granted; plaintiff’s motion for fees

       68 D.I. 40 at 6-7 (citing the test for prudential standing but not discussing the
subject further).
      69 D.I. 41; see also D. Del. LR 7.1.1.
      70 See supra note 33.
      71 D.I. 57.
      72 D.I. 58 at 4-5 & n.4.



                                               11
Case 1:17-cv-00181-MPT Document 60 Filed 05/23/18 Page 12 of 12 PageID #: 521




and costs (D.I. 41) is denied without prejudice; defendant’s motion to defer ruling on

fees and costs pending appeal is granted (D.I. 51) and plaintiff’s motion for an order to

show cause (D.I. 57) is denied without prejudice. As a result of the motion for

clarification, the court will issue a clarified version of its December 6, 2017

Memorandum Opinion.


Dated:   May 23, 2018                     /s/ Mary Pat Thynge
                                     Chief U.S. Magistrate Judge




                                             12
